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   United States of America
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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:13-CR-274-GEB
12                                Plaintiff,             STIPULATION TO VACATE TRIAL
                                                         CONFIRMATION HEARING AND TRIAL DATES
13                         v.                            AND TO SET CHANGE OF PLEA HEARING;
                                                         [PROPOSED] ORDER
14   GARIK VOSKANYAN,
                                                         DATE: May 12, 2017
15                               Defendant.              TIME: 9:00 a.m.
                                                         COURT: Hon. Garland E. Burrell, Jr.
16

17                                               STIPULATION
18         Plaintiff United States of America, by and through its counsel of record, and defendant Garik
19 Voskanyan, by and through defendant’s counsel of record, hereby stipulate as follows:

20         1.      By previous order, this matter was set for trial confirmation on May 12, 2017. Trial was
21 scheduled to commence on June 20, 2017.

22         2.      On May 10, 2017, the parties filed a signed plea agreement as to defendant Voskanyan.
23 See ECF 93.

24         3.      By this stipulation, the parties now jointly request that the Court:
25                 a)     Vacate the trial confirmation hearing set for May 12, 2017;
26                 b)     Vacate the trial scheduled to commence on June 20, 2017; and
27                 c)     Schedule a status hearing on May 26, 2017 as to defendant Voskanyan for
28         intended change of plea.

      STIP RE: VACATE TCH AND TRIAL DATES AND            1
30    SET CHANGE OF PLEA HEARING
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 1         4.      Time under the Speedy Trial Act was previously excluded through the planned trial date

 2 of June 20, 2017, and no further time exclusions are necessary.

 3         IT IS SO STIPULATED.

 4

 5
     Dated: May 10, 2017                            PHILLIP A. TALBERT
 6                                                  United States Attorney
 7
                                                    /s/ AMY SCHULLER HITCHCOCK
 8                                                  AMY SCHULLER HITCHCOCK
                                                    Assistant United States Attorney
 9
10
     Dated: May 10, 2017                            /s/ GEORGE MGDESYAN
11                                                  GEORGE MGDESYAN
12                                                  Counsel for Defendant
                                                    GARIK VOSKANYAN
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16                                        FINDINGS AND ORDER

17         IT IS SO FOUND AND ORDERED.

18         Dated: May 17, 2017

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      STIP RE: VACATE TCH AND TRIAL DATES AND          2
30    SET CHANGE OF PLEA HEARING
